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                       UNITED STATES DISTRICT COURT
                                             for the
                                  Eastern District of Kentucky
                                        London Division

Carrie A. Lunsford                                    )
       Plaintiff                                      )
                                                      )
v.                                                    )       Case No. 6:17-cv-00326-KKC
                                                      )
Experian Information Solutions, Inc. et al.           )
      Defendants                                      )
                                                      )

                     NOTICE OF SETTLEMENT AS TO DEFENDANT
                      EXPERIAN INFORMATION SOLUTIONS, INC.

       Please take notice that Plaintiff, Carrie A. Lunsford, has reached a settlement with

Defendant Experian Information Solutions, Inc. Once the settlement is final, the parties will file

a joint dismissal with prejudice. This Notice does not affect, and is not intended to affect,

Plaintiff’s claims against any other Defendant in this action.

                                       Respectfully submitted,

                                       /s/ James H. Lawson
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                                      Counsel for Plaintiff
                                      Carrie A. Lunsford


                                CERTIFICATE OF SERVICE

       This is to certify that I filed the foregoing via the Court’s CM/ECF system on this 1st day
of June, 2018, which will send a Notice of Electronic Filing to all counsel of record.


                                      /s/ James H. Lawson
                                      Counsel for Plaintiff
                                      Carrie A. Lunsford




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